        Case 1:23-cv-10435-KPF Document 6 Filed 12/01/23 Page 1 of 3




12/01/2023                                           /S/ V. BRAHIMI
Case 1:23-cv-10435-KPF Document 6 Filed 12/01/23 Page 2 of 3
              Case 1:23-cv-10435-KPF Document 6 Filed 12/01/23 Page 3 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------X
GLORIA MARTINEZ, MILENA SALAZAR, and
WALTER SALAZAR,
                                                                            Case No.: ______________
                                            Plaintiffs,
                                                                            ATTACHMENT
                          -against-

AMC Entertainment Holdings, Inc., ACS ENTERPRISES, INC.,
LUNA CLEANING COMPANY LLC, ANTHONY FERMIN
individually, and JUAN (last name unknown) individually,

                                             Defendants.
------------------------------------------------------------------------X
  To: (Defendant’s name and address)
  AMC Entertainment Holdings, Inc.
  2655 Richmond Ave, Staten Island, NY 10314
  ACS Enterprises, Inc.
  123 Pacific Street, Pomona, California 91768
  Anthony Fermin
  123 Pacific Street, Pomona, California 91768
  Luna Cleaning Company LLC
  241-71 Oak Park Dr Little Neck, NY
  Juan Carlos Trejo
  241-71 Oak Park Dr Little Neck, NY
